Case 1:16-cv-01456-LTB Document1 Filed 06/14/16 USDC Colorado Page 1 of 4

us. pisTmiEe
bis Tees OF Corn ebo

IN THE UNITED STATES DISTRICT COURT = 201 JUN TK PH 5: 93

FOR THE DISTRICT OF COLORADO :
JEFF ney Fae SLWELL

(To be supplied by the court) BY DEP. CLK

Beue auch (0 Plaintiff,

WWaladecws Troe.
Fiesthhdvawtaae EAP -
Sea wick “baoc . ;
Elite Qu chekPlws.com

Civil Action No.

 

a ae , Defendant(s).

(List each named defendant on a separate line.)
—T—
Thexg Lave Fradules wth 2 Ahlack the Add bi lawivély
Fired/Ne

(Rev. 07/06)
Case 1:16-cv-01456-LTB Document1 Filed 06/14/16 USDC Colorado Page 2 of 4

4,

”

PARTIES

Plaintiff ‘be i é han Nu Os a citizen of (olovado , Usa

who presently resides at load address:
¢

CK re? how) Row. -
Defendant {,/ Greens wei is a citizen of he RORA, Col oedda 0 SA

who live(s) at or is/are located at the following address:

(SBOE Ha nplen, ) Aue

Defendant Elite bp, 4 C Wel ly vs LOMis ae of Lacksouut Ue F ei da
who live(s) at or is/are Idcated at the following address:

(Attach a separate page, if necessary, to list additional parties.)

 

 

JURISDICTION

Jurisdiction is asserted pursuant to following statutory authorities:

 

 

 

Briefly state the background of your case:

Aeadvlewt Mouse (Ceapoes fe |
Phasicat f Markal Arevi sh

Du Law Fy le Teo wation

(Rev. 07/06) 2
Case 1:16-cv-01456-LTB Document1 Filed 06/14/16 USDC Colorado Page 3 of 4

FIRST CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS
(Please number your paragraphs and attach any necessary additional pages.)

© Os Febe@maey 2, 2Ole Pwas
Feadulet, Attacked By yAis Elite Yay Chele Plos lm
Company d (al qeeor te
Be ade Youoless Tu Aurore Celowado
) Denver | Coloeade .
@ Fest Advavrtene EAP.
Has Tailed fo Fax Uy Paperwoule .
+, Walorees AFRe Beve
fesecl ¢ Cheaned By De. Kate HeeovoF =
to Be fibte to Retuen te
oat.

(3) ; \\alaeceus fuc. 4s Of Lautolly
Fietwe, Me While te stl Ou
We Caicl Leave For A Year
Hee a. Lens FULL Yeaced ure Aud
Mv Dowestic io leuce GaSe WAS Cased
ful Deopped. fassl Waloroedrs Teer iwated
mm Me @ut hone Hoar Qospveces
“face Sey tu A (Non ~ Achwve Fuployer )
Case 1:16-cv-01456-LTB Document1 Filed 06/14/16 USDC Colorado Page 4 of 4

REQUEST FOR RELIEF
. . « ° a ‘ { \ >
Plaintiff requests the following relief: Movetary Le liok

Thysieat dNewtat Muavish
Nouakeres -

Sabolacu UQ M ada te RIES .

Aud Foe Rectoeation
OT Walareen Luc.
Exployemen VT

Date: 6-I-|G Ae ~

(Plaintiffs Original Signature)

Qulvehons Heuy Derek
(Street Address)

Penwer Co . $0205

(City, State, ZIP)’

720 SUD JYREG

(Telephone Number)

 

(Rev. 07/06) 6
